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                                                Certificate Number: 16199-DE-CC-036080774


                                                              16199-DE-CC-036080774




                    CERTIFICATE OF COUNSELING

I CERTIFY that on October 21, 2021, at 11:57 o'clock AM EDT, Jose Dejesus
received from CC Advising, Inc. , an agency approved pursuant to 11 U.S.C. 111
to provide credit counseling in the District of Delaware, an individual [or group]
briefing that complied with the provisions of 11 U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   October 21, 2021                        By:      /s/Evaline Mutuku


                                                Name: Evaline Mutuku


                                                Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
